     Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 1 of 31 PageID #: 1



                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE


PAUL EARLY and JONATHAN GOLLNER,                            CASE NO.
individually and on behalf of all others
similarly situated,
                                                            CLASS ACTION
                Plaintiffs,
                                                            JURY TRIAL DEMANDED
        v.



SINEMIA INC.,


                Defendant.




                        PLAINTIFFS' CLASS ACTION COMPLAINT


       Plaintiffs Paul Early and Jonathan Gollner (hereinafter "Plaintiffs"), on behalf of


themselves and proposed classes of all others who are similarly situated, submit this Class


Action Complaint (the "Complaint") against Defendant Sinemia Inc. (hereinafter "Sinemia" or


"Defendant"), and upon information and belief and investigation of counsel, state as follows:


                                    NATURE OF THE CASE


        1.     This is a consumer class action lawsuit against Sinemia, Inc. Sinemia offers


subscription-based movie ticket plans whereby consumers can pay for a monthly or yearly plan


that allows them to see a certain number of movies per month. Sinemia, however, has


essentially become a bait-and-switch scheme: it lures consumers in by convincing them to


purchase a purportedly cheaper movie subscription, and then adds undisclosed fees that make


such purchases no bargain at all.   Sinemia fleeces consumers with an undisclosed, unexpected,


and not-bargained-for processing fee each time a plan subscriber goes to the movies using


Sinemia' s service.
       Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 2 of 31 PageID #: 2



         2.     Like many industries, the movie theater ticket business is changing with the


proliferation of websites and smartphone apps.          Starting most notably with MoviePass,


consumers now have the option of paying for subscription services that allow them to see either


an unlimited or a specific number of movies per month at just about any theater they want.


MoviePass started by offering subscribers the ability to see unlimited movies for a low monthly


fee.


         3.     Sinemia launched a service similar to MoviePass with the idea of being more


financially sustainable.       Specifically, while Sinemia also offers a variety of subscription


packages that allow customers to see multiple movies per month and pay less per ticket to do so


than if they bought them directly from theaters, its subscription packages are more expensive


and offer less than an unlimited number of movies per month as compared to MoviePass. For


example, current packages include three movie tickets per month for $8.99 per month. Another


package offers "A Movie Every Weekday" for $23.99 per month.2

         4.     Sinemia's website and marketing leads potential subscribers to believe that the


monthly price advertised is the all-in or total price they have to pay in order to see a certain


number of movies.      This is an attractive value proposition to consumers because Sinemia's


monthly pricing averages out to significantly less per movie than simply buying tickets from


theaters each time.




 See https://www.forbes.com/sites/jamos/2018/08/16/sinemia-tosses-rival-moviepass-
subscribers-a-life-preserver/#7314479a6957 (last visited Nov. 8, 2018);
https://finance.yahoo.com/news/moviepass-struggles-sinemia-intends-thrive-191923782.html
(last visited Nov. 8, 2018).
2 https://www.sinemia.com/new-plans (last visited Nov. 7, 2018).

                                                  2
    Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 3 of 31 PageID #: 3



        5.      Plaintiffs and class members relied on Sinemia's representations regarding the


monthly price in subscribing to the service, often paying for an entire year upfront in order to


avoid an initiation fee.


        6.      Unfortunately for Plaintiffs and members of the classes (defined below),


Sinemia's apparent pricing is too good to be true.              Despite advertising that leads customers to


believe that the monthly price is the total they have to pay, Sinemia adds hidden "processing


fees" typically in the amount of $1 .80 per movie ticket.3

        7.      The additional $1.80 per ticket charged by Sinemia dramatically changes the


value proposition that customers thought they were getting from Sinemia.


        8.      Sinemia    knew   that   Plaintiffs       and    all   of their   subscribers   relied   on   its


representations about pricing in marketing a product designed almost exclusively around the


idea of saving people money on movie tickets.             Sinemia was aware of Plaintiffs' and the other


members of the classes' reliance on its representations when they entered into monthly and


often year-long subscriptions.


       9.      By this action and as a result of Sinemia's conduct (discussed below in more


detail), Plaintiffs seek, on behalf of other similarly situated persons, damages and other relief


arising from Sinemia's fraud, breaches of contract, violations of consumer protection laws, and


unjust enrichment.




3 This is on top of the "convenience" fees consumers pay per ticket to services like Fandango and
Atom where Sinemia sends them to actually purchase the tickets. Although not the subject of
this lawsuit, Sinemia hardly goes out of its way to disclose that consumers will incur these fees
either. Collectively, the convenience and processing fees add up to approximately $3.60 per
ticket obtained as part of a Sinemia subscription, eliminating the value in or incentive to
purchasing a Sinemia plan altogether.

                                                      3
    Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 4 of 31 PageID #: 4



                                              PARTIES


        Plaintiff Paul Early (California)


        10.    Plaintiff Paul Early ("Early") is an adult individual residing in California.


Plaintiff Early joined Sinemia on or about August 2, 2018.      He paid $191.88 for a year of a


movie plan for two movies per month for two people.        Early also paid a $9.99 fee for instant


activation. Prior to purchasing his movie plan, Sinemia did not disclose the processing fees.


        11.    The first five times Early saw a movie with Sinemia he was only charged the


$1.50 third-party convenience fees.


        12.    On October 22, 2018, Plaintiff Early purchased two tickets for a movie and was


charged a $1.80 processing fee per ticket ($3.60 total).   The app would not let Plaintiff Early


purchase the tickets without accepting this fee.


        13.    Plaintiff Early went to another movie on November 6, 2018, and was once


again charged the $1.80 processing fee per ticket ($3.60 total). He went to yet another movie


on November 8, 2018 and was charged another $1.80 processing fee.


        14.    Plaintiff Early contacted      Sinemia customer service about      cancelling the


remainder of his movie plan and requested a refund. Sinemia did not respond. Plaintiff Early


would not have purchased his Sinemia movie plan had he known of the processing fees, or he


would have paid less for it. The movie plan Early is now stuck with has lost significant value


with the imposition of the processing fees.


       15.     Early has been injured as a result of Defendant's conduct as described herein.


       Plaintiff Jonathan Gollner (Illinois)


       16.     Plaintiff Jonathan Gollner ("Gollner) is an adult individual residing in Illinois.


Plaintiff Gollner signed up for Sinemia on or about September 12, 2018. He paid $1 19.88 for




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     Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 5 of 31 PageID #: 5



 an annual plan for three movies per month. His account was activated on September 26, 2018.


 Prior to purchasing his movie plan, Sinemia did not disclose the processing fees.


          17.     The first time he used Sinemia on October 12, 2018, he was not charged the


 $1.80 processing fee.


          18.     On his second use of Sinemia on October 23, 2018, however, Sinemia charged


 a $1.80 processing fee per ticket. On his third use of Sinemia on October 24, 2018, Sinemia


 again charged a $1.80 processing fee.


          19.     Plaintiff Gollner would not have purchased his Sinemia movie plan had he


 known of the processing fees, or he would have paid less for it.


         20.      Plaintiff Gollner has been injured as a result of Defendant's conduct as


 described herein.


         Defendant Sinemia Inc.


         21.      Defendant Sinemia Inc., is incorporated in Delaware with its headquarters and


 principal place of business in Los Angeles, California.


         22.      Sinemia operates a website and a smartphone app which offers movie theater


 ticket subscriptions.


                                 JURISDICTION AND VENUE


        23.     This Court has subject matter jurisdiction over this action under 28 U.S.C. §


1332(d) of the Class Action Fairness Act because this is a class action in which: (1) there are at


least 100 Class members; (2) the combined claims of Class members exceed $5,000,000,


exclusive of interest, attorneys' fees, and costs; and (3) Plaintiffs and Defendant are domiciled


in different states.




                                                5
   Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 6 of 31 PageID #: 6



        24.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because Plaintiffs


suffered injuries as a result of Defendant's acts in this District, Defendant is authorized to


conduct business in this District, Defendant resides in this District and Defendant is subject to


personal jurisdiction in this District, a substantial part of the events or omissions giving rise to


the claims occurred in this District, and Defendant has consented to venue in this District.


       25.     The Court has personal jurisdiction over Sinemia because its principal place of


business is within this District and it has sufficient minimum contacts in Delaware to render


the exercise ofjurisdiction by this Court proper and fair.


                                 FACTUAL ALLEGATIONS


       26.     Sinemia is a subscription-based movie ticketing service that offers monthly


subscription plans that allow subscribers to see a certain number of movies per month for a set


monthly fee.


       27.     For example, current packages include three movie tickets per month for $8.99


per month. Another package offers "A Movie Every Weekday" for $23.99 per month.


       28.     At any given time it offers many different subscription options, with the price


varying depending on the number of movies per month and the level of restrictions on the


movies customers can see (for example some packages are only weekdays, some packages do


not include 3D or IMAX movies).


       29.     Additionally, customers may choose either individual or family plans.        Family


plans allow subscribers to get more than one ticket to the same movie so they can go with


family members or friends.


       30.     Subscribers also have the option of paying each month or paying for an entire


year upfront. If they choose to pay monthly there is an "initiation fee" typically ranging from




                                                 6
   Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 7 of 31 PageID #: 7



$19.99-$29.99 depending on the package.                 The initiation fee is waived if a subscriber is


willing to pay for an entire year upfront. Many consumers choose a yearly plan in order to


avoid the initiation fee.


        31.     Sinemia was founded in 2014 and has expanded its services to include the


United States, Canada, the United Kingdom, Turkey, and Australia.


        32.     When     Sinemia         first   launched,   it   followed the    model   introduced by     its


competitor (and household name) MoviePass where subscribers would receive a debit card in


the mail and then could go to the movie theater of their choice and pay for the ticket using the


debit card.


        33.     Earlier this year, however, Sinemia stopped issuing the debit cards and


switched to a card-less model where customers can only purchase tickets through the Sinemia


app.



        34.     Now, subscribers select the movie and theater they want on the Sinemia app


which then sends them to a third-party such as Fandango or Atom to purchase the tickets.


These services each charge their own "convenience" fees, generally around $1-2 per ticket.


        35.     Within      the   last    several    months,      Sinemia   has   begun   charging   its   own


"processing fee" of $1.80 per ticket for tickets purchased through the app. This fee was not a


part of the bargain with its customers. It unilaterally introduced this fee and never disclosed to


consumers that it would do so. Consumers purchased movie plans from Sinemia with the


expectation that the base rate (monthly or yearly price) would be the extent of the money that


they would have to pay for their Sinemia movie plan.




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   Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 8 of 31 PageID #: 8



        36.    Sinemia's marketing and website advertise only a monthly price for each


subscription package without any mention of additional fees.         Rather, Sinemia consistently


represents that the monthly price is all subscribers will have to pay in order to see their allotted


number of movies:




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    Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 9 of 31 PageID #: 9




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            3
      Movie tickets
                                            2
                                      Movie tickets
                                                                        A Movie Every
                                                                           Weekday
                                                                         One movie ticket
                                                                                                                          3
                                                                                                                    Movie tickets
                                                                                                                                                              1
                                                                                                                                                       Movie ticket
       per month                         per month                        every weekday                              per month                          per month
                                                                             per month
           Fa li Promo                     Foil Prcmo                                                                   Fail Promo                         Fail Prcmo
                                                                                Fail Premo


     $1 4.99 / month                  $9.99 / month                                                              $8.99 / month                        $3.99 'month
                                                                          $23.99 / month
    Instead of $S4r-39              Instead of $24t99                                                           Instead of $32-93                 Instead of S4-2t93
                                                                         Instead of $&-9r99
     Every feature in Classic        Every feature in Classic                                                           Any Theatef                        Any Theater
    plan, including 3D and an       plan, including 3D and an                   Any Theater                         No blackout days                   No blackout days
    experience in IMAX-40X          experience in IMAX-ADX                  No blackout days                    Advance Ticket Option             Advance Ticket Option
           and                             and                           Advance Ticket Option




                                                                                                                             •mm:.




                                                                         More Access
                                                                                                                                            3?
 With a Sinemia membership, you can get 3 movie                                                                                                   i|


                 tickets for less than the price of one ticket!




See https://www.sinemia.com/ (last visited Nov. 8, 2018).




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   Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 10 of 31 PageID #: 10




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                                  Join Today




See https://milled.com/sinemia-com/get-vour-3-free-movie-tickets-for-onlv-9-99-ioin-sinemia-
today-05DbsNnLHD00 pzx (last visited Nov. 8, 2018).



        37.     Indeed, as depicted above, Sinemia represented that the tickets obtained for


movies under its movie plans are "free movie tickets"—that is, it advertised and marketed its


platform as consisting only of the cost for the movie plan itself ("one low monthly cost"), and


made clear that the ticket you obtain to go see movies are free, i.e., no fees or charges.




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   Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 11 of 31 PageID #: 11



        38.     The "About" section of Sinemia's Facebook page confirms that consumers will


 only pay once for the service: it states that "Sinemia is a social platform for moviegoers and a

                                                                                              »4
 monthly subscription-based service that provides movie tickets for one low monthly fee.


        39.     As a result of Sinemia's representations, subscribers reasonably understood


 these monthly prices to be the total and only cost for their monthly allotment of movie tickets.


        40.     Subscribers either subscribed to Sinemia before the company added the $1.80


 processing fee or subscribed after and did not realize the fee existed because Sinemia not only


 makes no mention of it but repeatedly states that subscribers get "[X number of] movie


 tickets" for the monthly price.


         41.    The only mention of any additional fees in Sinemia's Terms and Conditions, a


 link to which is buried at the bottom of its website, states as follows:


               Advance tickets created using Sinemia app must be purchased
               within 2 hours. Advance Tickets can be created for a movie that
               will   take   place   within   the   span   of the   member's   30   days
               membership period, There aren't any limitations on how many
               advance tickets can be ordered in a 30 days membership period
               (within the ticket limits of the specific subscription) however the
               second advance ticket cannot be created before the showtime of the
               existing advance ticket has passed. The advance ticket online
               convenience fee and/or processing fee are not covered by Sinemia.
               Sinemia only covers the cost of the movie tickets.5

        42.     Although this language mentions the processing fee, it is worded in such a way


 as to lump it in with the convenience fee and imply that it is not charged by Sinemia and is for


 something in addition to the movie ticket.         Rather, the processing fee is charged by Sinemia


 and is simply tacked on arbitrarily and for no additional product or service besides getting the


 movie tickets consumers already paid for.




4_ https://www.facebook.com/pg/SinemiaApp/about/ (last visited Nov. 8, 2018).
5 https://www.sinemia.com/terms, Section 27.18 (last visited Nov. 8, 2018).

                                                     11
   Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 12 of 31 PageID #: 12



         43.     Indeed, the language "and/or processing fee" was only added to the Terms and


 Conditions on September 20, 2018.


         44.    Many members of the proposed class subscribed to Sinemia plans and paid for


 an entire year prior to Sinemia's unilateral imposition of the processing fee in the middle of


 their subscription period.   These individuals are stuck with the remainder of several hundred


 dollar movie plans that now incur an additional $1.80 charge for every movie ticket they


 thought they already paid for.


        45.     Those members of the proposed class who subscribed after Sinemia added the


 processing fee only did so in reliance on Sinemia's misrepresentations about its pricing since


 Sinemia did not disclose the processing fee.


        46.     Sinemia's     unilateral   addition    of and   subsequent   failure   to   disclose   the


 processing fee means that subscribers now pay significantly more to see their allotted number


 of movies each month.


        47.     The   amount      subscribers pay      beyond what   they    expected to      pay when


 subscribing depends on how many movies they see.           However, an extra $1.80 is a significant


 amount relative to the price of a movie ticket.


        48.     For example,      a customer who subscribes to Sinemia's "A Movie Every


 Weekday" plan expects to pay the monthly price of $23.99 advertised by Sinemia.                   If the


 subscriber were to in fact see one movie every weekday, the total price paid to Sinemia would


 be more like $59.99 per month. More than double what Sinemia advertised.6

        49.     Scores of virtually identical complaints about this exact conduct by Defendant


 can be found on the internet from consumers across the country. A small sample of the



6 When the third-party convenience fees charged by companies like Fandango and Atom are
factored in, the total paid by the customer in this example is approximately $89.99 per month.

                                                      12
      Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 13 of 31 PageID #: 13



    countless consumer complaints about Defendant's processing fees are reproduced verbatim


    below [all sic]:


                                   From the Better Business Bureau7

               •   David L. On Oct. 23, 2018
                   . . . Bait and switch. I'm an annual member, prepaid a year for
                   around $179 for 3 tickets a month. Two months in, they began
                   charging everyone an extra $1.80 "processing fee" every time I
                   reserve a ticket, which I essentially already paid for. Note this is on
                   top of the "convenience" fees most of us already didn't know we'd
                   be paying. After contacting them on Twitter (which took days to
                   figure out since their phone number is dead and their inbox
                   returned as "full"), we were pointed to the terms and conditions
                   where it left room for them to start charging me this fee. . . . They
                   refused to refund a cent ... I have to go through the hassle of a
                   chargeback for my full membership through my credit card, and
                   heed my warning, so you don't have to, as well.


               •   Cort on Nov. 5, 2018
                   I feel the marketing is deceptive.... they require you to use online
                   ticket sellers (with fees) AND then SInemia charges you an
                   additional 1 .80 (per ticket) for using their "cardless" system (which
                   you have no choice but to use.... I wish I could get a refund

                                                          8
                                    From Trustpilot


              •    Andrew on Nov. 2, 2018
                   I wish I could leave less than 1 star, frankly. Yeah, for 9.99 a
                   month for 3 movies is a decent deal. Except you have a ridiculous
                   $20 fee to pay monthly. Then, I am supposed to get a card, it's
                   been nearly two months and it still hasn't arrived. Because of the
                   lack of card, I paid the extra 9.99 for the Cardless feature. Now I
                   am being charged an extra 1.80 for an advance ticket, on top of the
                   500 my theatre charges for e-ticketing, even though I have no
                   choice because my card is no where to be seen. Contact customer
                   service, you say? I have. Seven emails, three contact forms filled
                   out, and two Facebook messages. No reply to any! I thought
                   MoviePass customer service was bad,          but I'm      fairly certain
                   Sinemia has the worst customer service in the world. Also, the app
                   is utterly worthless and doesn't work half of the time.


1


    https://www.bbb.org/us/ca/west-hollywood/profile/online-retailer/sinemia-inc-1216-883526
(last visited on Nov. 8, 2018).
8
    https://www.trustpilot.com/review/www.sinemia.com (last visited on Nov. 8, 2018).

                                                     13
   Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 14 of 31 PageID #: 14




                                         Google Play9

               •   Newton C. on Nov. 6, 2018
                   Sinemia never sent me a physical card despite precharging me for
                   a year of membership. They then introduced a $1.80 processing fee
                   for all purchases using the careless approach in the app. This is a
                   blatant price hike on a prepaid service. Customer service refuses to
                   make it right. Avoid at all costs.


               •   Matthew S. on Nov. 4, 2018
                   There is a new $1.80 fee added now for using cardless option, but
                   there is no other option. Sinemia confirmed that they will not send
                   a physical card. With the new fee it is almost the same as a regular
                   ticket price. There is no option to receive my money back, so I'm
                   stuck for the next 8 months. If you are considering getting this, I
                   would suggest going month to month. Because, who knows what
                   they will change next.


               •   Kyle T. on Nov. 1, 2018
                   They added 1.80 fee per movie to use cardless, which is the only
                   option. There is no way to avoid this fee and it is in addition the
                   subscription you already paid and agreed to. The cardless option
                   was already bad as you had to pay the theaters a convenience fee to
                   order the ticket in advanced. There's no advantage to this service,
                   it's a worse experience than what MoviePass was and is a complete
                   waste of time. Don't sign up for the service and if you have, file a
                   chargeback.



         50.       Plaintiffs    and   other   Class   members   have   been   damaged   by   Sinemia's


 misrepresentations and "processing fees" in at least the following ways:


                    (a)   Plaintiffs and Class members' subscriptions to Sinemia's service are


devalued.


                   (b)    Had Sinemia been honest and revealed the fees to Plaintiffs and members


of the proposed class when they subscribed, Plaintiffs and members of the proposed class


would not have subscribed to, or would have paid less for their subscriptions.



9 https://play.google.com/store/apps/details?id==com.sinemia.app&hl=en&showAHReviews=true
(last visited on Nov. 8, 2018).

                                                        14
   Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 15 of 31 PageID #: 15



        51.       The   processing   fee   notwithstanding,   customers   are   also   treated   to poor


customer service from Sinemia.10 This includes frequent complaints that Sinemia hid the fact

that it had stopped issuing cards from new subscribers who spent months waiting for a card that


never came.



                                      CLASS ALLEGATIONS


        52.       Plaintiffs incorporate each of the preceding allegations by reference as though


fully set forth at length.


        53.       Plaintiffs bring this lawsuit under Federal Rule of Civil Procedure 23 as


representatives of the following classes:


                California Class


                All persons in the state of California who purchased a Sinemia
                movie plan that was subjected to the imposition of an undisclosed
                processing fee.


                Illinois Class


                All persons in the state of Illinois who purchased a Sinemia movie
                plan that was subjected to the imposition of an undisclosed
                processing fee.


         54.      The above classes may be referred to collectively as the "Class." Plaintiffs


 reserve the right to modify or amend these definitions if discovery and further investigation


 reveals that the classes should be expanded, divided into additional subclasses, or modified in


 any other way.




10https://www.businessinsider.com/moviepass-competitor-sinemia-is-a-great-deal-but-has-
hidden-fees-2018-ll?r=UK&IR=T (last visited Nov. 9, 2018) ("Sinemia has emerged as a cheap
MoviePass alternative, but it has hidden fees and awful customer service").

                                                   15
  Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 16 of 31 PageID #: 16



        55.     The following persons and entities are excluded from the class: (1) Sinemia, its


officers, directors, employees, subsidiaries, and affiliates; (2) all judges assigned to this case


and any members of their immediate families; and, (3) the parties' counsel in this litigation.


        56.    The potential Class and sub-classes are so large that joinder of all members


would be impracticable. Additionally, there are questions of law or fact common to the class,


the claims or defenses of the representative parties are typical of the claims or defenses of the


class, and the representative parties will fairly and adequately protect the interests of the class.


        57.    This   action satisfies   all requirements    of Fed.   R. Civ. P.     23,   including


numerosity, commonality, typicality, adequacy, predominance and superiority.


        58.    Numerosity: Upon information and belief, at least thousands of Class Members


purchased Sinemia movie plans that were subjected to the processing fee described herein.


Class members are accordingly so numerous that joinder is impracticable.


       59.     Typicality: Plaintiffs' claims are typical of the claims of all class members in


that Plaintiffs, like all Class Members, purchased Sinemia movie plans that they would not


have purchased, or would have paid substantially less for, had they known that Sinemia would


charge processing fees (i.e., more than simply the monthly or yearly subscription cost) for each


movie ticket obtained under the movie plan.


       60.     Adequacy: Plaintiffs will fairly and adequately represent and protect the


interests of the class because Plaintiffs have no conflicts of interest that would be antagonistic


to those of the other Class members and are committed to vigorously prosecuting this case.


Plaintiffs seek no relief that is antagonistic or adverse to the members of the Class, and the


damages Plaintiffs have suffered are typical of other Class members.       Plaintiffs have retained


competent counsel experienced in the prosecution of consumer protection class actions.




                                                 16
 Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 17 of 31 PageID #: 17



       61.     Commonality:     the      claims   made   by   Plaintiffs   meet   the   commonality


requirement because they present shared questions of law and fact, and resolving these


questions will resolve the class-wide litigation. Questions of law and fact common to the Class


include:


               a.     Whether Sinemia unlawfully unilaterally changed the terms of its


                      contracts with consumers that purchased Sinemia move plans;


               b.     Whether Sinemia's practice of charging processing fees for movie


                      tickets obtained under its movie plans breached its contracts with movie


                      plan purchasers:


               c.     Whether Sinemia's conduct alleged herein is in violation of state


                      consumer protection laws;


               d.     Whether Sinemia's practice of charging processing fees deprived the


                      Class members of the benefits of their contracts;


               e.     Whether Sinemia's processing fees diminished the value of or otherwise


                      devalued consumers' Sinemia movie plans;


              f.      Whether Sinemia's conduct injured the Class Members;


              g-      Whether Class Members are threatened with irreparable harm and/or are


                      entitled to injunctive and other equitable relief and, if so, the nature of


                      such relief; and


              h.      Whether the Class Members are entitled to payment of equitable


                      monetary relief and/or damages plus interest thereon, and if so, the


                      amount of such relief.




                                                  17
   Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 18 of 31 PageID #: 18



         62.       Predominance: The above (and other) common questions of law and fact


 predominate over any questions that may affect only individual class members, because


 Sinemia acted on grounds generally applicable to the Class as a whole.


        63.       Superiority: A class action is superior to all other available methods for the fair


and efficient adjudication of this controversy.        Because the amount of each individual Class


Member's claim is small relative to the complexity of the litigation, and because of Sinemia's


financial resources, no Class Member is likely to pursue legal redress individually for the


violations detailed in this Complaint.     Individualized litigation would significantly increase the


delay and expense to all parties and to the Court and would create the potential for inconsistent


and contradictory rulings.      By contrast, a class action presents fewer management difficulties,


allows claims to be heard which would otherwise go unheard because of the expense of bringing


individual     lawsuits,   and provides the benefits of adjudication,     economies   of scale,   and


comprehensive supervision by a single court.


       64.        Class certification is also appropriate under rule 23(b)(1) and (b)(2) because: the


prosecution of separate actions by the individual members of the Class would create a risk of


inconsistent or varying adjudications with respect to individual class members, which would


establish incompatible standards of conduct for Sinemia; the prosecution of separate actions by


individual class members would create a risk of adjudications that would, as a practical matter,


be dispositive of the interests of other class members not parties to the adjudications, or would


substantially impair or impede their ability to protect their interests; Sinemia acted or refused to


act on grounds generally applicable to the class, thereby making appropriate final injunctive


relief with respect to the members of the Class as a whole; and the claims of Class Members


include common issues that are appropriate for certification.




                                                  18
   Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 19 of 31 PageID #: 19



                                      CLAIMS FOR RELIEF


                                                COUNT I
                           FRAUD/FRAUDULENT CONCEALMENT
                 (On Behalf of Plaintiffs and the California and Illinois Classes)


        65.     Plaintiffs repeat, reallege, and incorporate by reference each of the foregoing


allegations as though fully set forth herein.


        66.     Plaintiffs bring this claim individually and on behalf of the California and Illinois


Classes pursuant to the laws of those states.


        67.     Prior to Plaintiffs' purchase of Defendant's movie plan subscriptions, Defendant


did not conspicuously disclose and omitted to tell Plaintiffs and members of the Class that


Defendant would charge a processing fee for each ticket obtained under the movie plans.


Defendant knew Plaintiffs and Class members relied upon this material omission, and Defendant


made failed to disclose that it would charge the processing fees in order to induce Plaintiffs and


members of the Class to act, i.e., to pay for a movie plan subscription.


        68.    This omission was material to Plaintiffs such that, had Plaintiffs known that they


would have to pay the processing fees, Plaintiffs would not have bought their movie plan


subscriptions, or would have purchased them at a lesser price. But Plaintiffs did not know the


true facts, and relied upon the Defendant's statements (and omissions) as to pricing for the plans.


       69.     Defendant concealed and failed to disclose to Plaintiffs and Class members that,


despite its affirmative representations regarding price, it would charge processing fees in excess


of the flat movie plan price.


       70.     As a result of Defendant's fraud, Plaintiffs and members of the Class were


induced into the purchase of services that they otherwise would not have purchased, or would


have paid less, and have suffered injury, harm and damages as described herein.




                                                  19
   Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 20 of 31 PageID #: 20



                                                COUNT II
                                    BREACH OF CONTRACT
                (On Behalf of Plaintiffs and the California and Illinois Classes)


         71.   Plaintiffs repeat, reallege, and incorporate by reference each of the foregoing


allegations as though fully set forth herein.


         72.   Plaintiffs bring this claim individually and on behalf of the California and Illinois


Classes pursuant to the laws of those states.


         73.   Plaintiffs and Defendant entered into contracts for the purchase of Sinemia movie


plans.


         74.   Plaintiffs have fully performed all material covenants, conditions and obligations


that they were required to perform by reason of their contracts, except to the extent waived,


excused, or made impossible by Defendant's breaches of the contract.


         75.   On the other hand, the Plaintiffs never agreed that Defendant could unilaterally


impose a processing fee. This term is not part of the parties' contracts with one another, and


Defendant did not have the right to act as such under the terms of its agreements with Plaintiffs.


         76.   Defendant's conduct frustrated the entire purpose of the contract and the reasons


for why Plaintiffs contracted with Defendant in the first place, and materially breached its


contracts with Plaintiffs, which had the direct and proximate effect of causing damages to


Plaintiffs in an amount to be proven at trial, plus interest allowable under applicable law.


         77.   Plaintiffs demand an award of any consequential damages, reasonable attorneys'


fees and costs, and any other relief afforded under the laws of California and Illinois.




                                                  20
    Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 21 of 31 PageID #: 21



                                                 COUNT III
         BREACH OF THE COVENANT OF GOOD FAITH AND FAIR DEALING
                    (On Behalf of Plaintiffs and the California and Illinois Classes)


        78.        Plaintiffs repeat, reallege, and incorporate by reference each of the foregoing


allegations as though fully set forth herein.


        79.        Plaintiffs bring this claim individually and on behalf of the California and Illinois


Classes pursuant to the laws of those states.


        80.        A covenant of good faith and fair dealing is implied in every contract and imposes


upon each party a duty of good faith and fair dealing in its performance of the contract. Common


law calls for substantial compliance with the spirit, not just the letter, of a contract in its


performance. The duty to act in good faith and deal fairly requires adherence to commercial


norms and prevents a contracting party from acting in contravention of the counterparty's


objectively reasonable expectations arising from the agreement.


        81.        Sinemia breached the covenant of good faith and fair dealing when it added


processing fees that it failed to disclose.


        82.        All conditions required for Plaintiffs' and the Class members' performance under


the agreement occurred.          Plaintiffs'   and Class members' were uniformly and materially


overcharged pursuant Sinemia 's breaches.


        83.        As a direct and proximate result of Sinemia' s breaches of the covenant of good


faith and fair dealing, Plaintiffs and Class members have been damaged in an amount to be


proven at trial.




                                                    21
   Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 22 of 31 PageID #: 22



                                    COUNT IV
              VIOLATION OF THE CALIFORNIA UNFAIR COMPETITION LAW
                        Cal. Bus. & Prof. Code §§ 17200, et seq. ("UCL")
                       (On Behalf of Plaintiff Early and the California Class)


        84.     Plaintiffs repeat, reallege, and incorporate by reference each of the foregoing


allegations as though folly set forth herein.


        85.     Plaintiff Early brings this claim under the UCL—and each claim under each of its


prongs, e.g., unlawful, unfair, fraudulent—individually and on behalf of the California Class.


        86.     The UCL proscribes acts of unfair competition, including "any unlawful, unfair or


fraudulent business act or practice and unfair, deceptive, untrue or misleading advertising." Cal.


Bus. & Prof. Code § 17200.


                                         Unlawful Conduct


        87.     Sinemia's conduct is unlawful, in violation of the UCL, because its conduct


contravenes the legislatively declared policy against unfair methods of business competition and


violates other laws as set forth herein, including: the California CLRA and the Illinois consumer


protection statutes.


                                          Unfair Conduct


        88.     As to Plaintiff Early and the California Class, Sinemia acted in an unethical,


unscrupulous, outrageous, oppressive, and substantially injurious manner by unfairly adding


hidden fees that it did not disclose to consumers.


        89.     The gravity of harm resulting from Sinemia's unfair conduct outweighs any


potential utility. The practice of adding hidden undisclosed fees—harms the public at large and


is part of a common and uniform course of wrongful conduct.




                                                22
   Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 23 of 31 PageID #: 23



        90.     The harm from Sinemia's conduct was not reasonably avoidable by consumers


because Sinemia failed to disclose that it would add the processing fees to each ticket obtained


through its movie plans.


        91.     There were reasonably available       alternatives that   would    further Sinemia's


business interests of attracting and retaining customers while maintaining profitability, such as


(1) disclosing the processing fees; or (2) increasing the base price of the movie plans rather than


charging separate hidden fees.


                                        Fraudulent Conduct


        92.     Sinemia's conduct is fraudulent in violation of the UCL because it is likely to


deceive a reasonable consumer in that Sinemia added processing fees without disclosing the fees


and while advertising prices in such a way that consumers believed that to be the total price.


        93.     Plaintiff Early and the California Class suffered injury in fact, including lost


money, as a result of being charged significantly more for movie tickets under their movie plans


than Sinemia advertised.


        94.    Through its unlawful, unfair, and fraudulent conduct, Sinemia acquired money


that Plaintiff Early and the California Class once had an ownership interest in.


        95.    Plaintiff Early accordingly seeks appropriate relief, including restitution under the


UCL. Plaintiffs also respectfully seek reasonable attorneys' fees and costs under applicable law,


including under California Code of Civil Procedure § 1021.5.


                              COUNT V
      VIOLATION OF THE CALIFORNIA CONSUMER LEGAL REMEDIES ACT
                           Cal. Civ. Code §§ 1750, et seq. ("CLRA")
                     (On Behalf of Plaintiff Early and the California Class)


       96.     Plaintiffs repeat, reallege, and incorporate by reference each of the foregoing


allegations as though fully set forth herein.



                                                23
   Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 24 of 31 PageID #: 24



        97.    Plaintiff Early brings this claim individually and on behalf of the California Class.


       98.     Sinemia is a "person" within the meaning of Cal. Civ. Code §§ 1761(c) and


1770, and provided "services" within the meaning of Cal. Civ. Code §§ 1761(b) and 1770.


       99.     Sinemia' s acts and practices, as alleged in this complaint, violate the CLRA, Cal.


Civ. Code §§ 1770(a)(5), (7), and (9) because they consist of unfair methods of competition and


unfair and deceptive acts and practices in connection with transactions—namely, the sale of


movie plans with hidden or undisclosed fees which amounts to a fraudulent bait and switch


scheme. Specifically, Sinemia represented that the monthly or yearly price for a movie plan was


the total customers would have to pay while failing disclose there were additional hidden fees.


        100.   Sinemia's misrepresentations and omissions were material. Had Plaintiffs known


that movie plans incurred an additional $1.80 fee per ticket, they would never have purchased


their plans or would have paid substantially less for them.


        101.   Pursuant to California Civil Code § 1782(a), individually and on behalf of the


Class, Plaintiff Early sent a CLRA notice to Sinemia on November 9, 2018. Plaintiff Early sent


the CLRA notice via certified mail, return receipt requested, to Sinemia's principal places of


business, advising Sinemia that it is in violation of the CLRA and must correct, replace or


otherwise rectify the conduct alleged to be in violation of Cal. Civ. Code § 1770. By this cause


of action, Plaintiff only seeks non-monetary relief presently. In the event the relief requested has


not been provided within 30 days, Plaintiff will amend this Complaint to include a request for


monetary damages pursuant to the CLRA.


       102.    Plaintiff Early's CLRA venue declaration is attached as Exhibit "A" hereto in


accordance with Cal. Civ. Code § 1780(d).




                                                24
  Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 25 of 31 PageID #: 25



                                           COUNT VI
               VIOLATIONS OF THE ILLINOIS CONSUMER FRAUD AND
               DECEPTIVE BUSINESS PRACTICES ACT ("Illinois CFA")
                             815 III. Comp. Stat. §§ 505/1, et seq.
                    (On Behalf of Plaintiff Gollner and the Illinois Class)


        103.   Plaintiffs repeat, reallege, and incorporate by reference each of the foregoing


allegations as though fully set forth herein.


        104.   Plaintiff Gollner brings this Count on behalf of herself and on behalf of the


Illinois class members.


        105.    Gollner and Illinois class members are "consumers" as that term is defined in


815 III. Comp. Stat. § 505/ 1(e).


        106.    Defendant's acts or practices as set forth above occurred in the conduct of


"trade" or "commerce" under 815 III. Comp. Stat. § 505/2.


       107.     Defendant's acts and practices are unfair in at least the following respects:


Defendant knowingly sold Gollner and Illinois class members movie plans that contained


hidden fees that were undisclosed and amounted to a bait and switch, as set forth herein.


       108.     Defendant's acts and practices are contrary to Illinois law and policy and


constitute immoral, unethical, oppressive, and unscrupulous business practices that caused


substantial injury to Gollner and Illinois Class members. The gravity of the harm resulting


from Defendant's unfair conduct outweighs any potential utility of the conduct. Sinemia's


conduct harms the public at large and is part of a common and uniform course of wrongful


conduct. There are reasonably available alternatives that would further Defendant's business


interests of increasing sales. The harm from Defendant's unfair conduct was not reasonably


avoidable by consumers.




                                                25
  Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 26 of 31 PageID #: 26



         109.   Defendant's acts and practices are deceptive because Defendants willfully


failed to disclose and actively concealed the hidden fees; made affirmative representations


about the movie plans' pricing structures that were false when made; represented that the


movie plans have characteristics, uses, benefits, and qualities which they do not have;


represented that movie plans are of a particular standard and quality when they are not;


advertised the movie plans with the intent not to sell them as advertised; and otherwise


engaging in conduct likely to deceive.


         110.   Defendant was aware that its conduct was deceptive in employing a bait and


switch scheme relating to the processing fees.


         111.   Defendant's conduct and false representations/omissions were material to


Gollner and Illinois class members.


         112.   Defendant used deceptive acts and practices with intent that consumers would


rely upon Defendant's representations and omissions in selecting and purchasing their movie


plans.


         113.   Defendants intentionally and knowingly misrepresented or omitted material


facts regarding the movie plans with an intent to mislead Gollner and Illinois Class members.


         114.   Defendant's unfair or deceptive acts or practices were likely to and did in fact


deceive reasonable consumers, including Gollner and Illinois class members, about the nature


of and the true value of the movie plans.


         115.   Defendant knew or should have known that its conduct violated the Illinois


CFA.




                                                 26
   Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 27 of 31 PageID #: 27



         116.    Defendant owed Gollner and Illinois Subclass members a duty to disclose the


 hidden fees because it possessed exclusive knowledge that it would charge them and about the


 pricing structure for the movie plans.


         117.    Because of Sinemia's concealment and misrepresentations, the value of the


 movie plans has greatly diminished and Gollner and Illinois cass members overpaid for their


 movie plans.


         118.    Gollner and Illinois class members suffered ascertainable loss caused by


 Defendant's misrepresentations and concealment of material information relating to the movie


 plans. Gollner and Illinois class members would have paid less for their movie plans or would


 not have purchased them at all but for Defendant's violations of the Illinois CFA.


         119.    As a direct and proximate result of Defendant's violations of the Illinois CFA,


 Gollner and Illinois class members have suffered injury in fact and actual damage.


         120.    Pursuant to 815 III. Comp. Stat. § 505/10a(a), Gollner, individually and on


 behalf of Illinois class members, seeks actual damages as well as punitive damages (pursuant


 to 815 III. Comp. Stat. § 505/10a(c)), because Defendant acted with fraud and malice.


         121.    Gollner and Illinois class members also seek an order enjoining Defendant's


 unfair and deceptive acts or practices, reasonable attorneys' fees, and any other just and


 proper relief available under 815 III. Comp. Stat. § 505/1, etseq.


                                            COUNT VII
                VIOLATIONS OF THE ILLINOIS UNIFORM DECEPTIVE
                         TRADE PRACTICES ACT ("Illinois DTPA")
                              815 III. Comp. Stat. §§ 510/1, et seq.
                     (On Behalf of Plaintiff Gollner and the Illinois Class)


        122.    Plaintiffs repeat, reallege, and incorporate by reference each of the foregoing


allegations as though fully set forth herein.




                                                27
   Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 28 of 31 PageID #: 28



        123.   Plaintiff Gollner brings this Count on behalf of herself and on behalf of the


Illinois class members.


        124.   Defendant is a "person" as defined in 815 III. Comp. Stat. § 510/1(5).


        125.   In the course of Defendant's business, it willfully failed to disclose and actively


concealed information about the pricing structure of its movie plans, namely the hidden


processing fees, and it engaged in bait and switch seem. Accordingly, Defendant engaged in


deceptive trade practices as defined in 815 III. Comp. Stat. § 510/2.


        126.   Defendant intended for Gollner and Illinois class members to rely on its


aforementioned unfair and deceptive acts and practices, including the misrepresentations and


omissions alleged hereinabove.


        127.   Defendant's actions as set forth above occurred in the course of its business.


        128.   Defendant knew or should have known that its conduct violated the Illinois


DTPA.



        129.    Defendants possessed exclusive knowledge the true nature of the pricing for its

movie plans and about the processing fees, and thus had a duty to disclose the same.

        130.    Defendant's conduct and false representations and omissions were material to

Gollner and Illinois class members in connection with their purchases of movie plans.

        131.    Gollner and Illinois class members suffered ascertainable loss caused by

Defendant's misrepresentations and its concealment of and failure to disclose material

information. Class members who purchased movie plans either would have paid less for them

or would not have purchased them at all but for Defendant's violations of the Illinois DTPA.

        132.    Defendant's conduct alleged herein proximately caused injuries to Gollner and

Illinois class members.

        133.    Gollner and Illinois class members were injured as a result of Defendant's

conduct. Gollner and class members overpaid for their movie plans and did not receive the



                                                28
   Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 29 of 31 PageID #: 29




benefit of their bargain. These injuries were the direct and natural consequence of Defendant's

misrepresentations and omissions in violation of the Illinois DTPA.

        134.     Pursuant to 815 III. Comp. Stat. § 510/3, Gollner and Illinois class members

are entitled to an award of injunctive relief to prevent Defendant's deceptive trade practices.

        135.     Because Defendant's conduct was willful, Plaintiff is entitled to an award of

reasonable attorneys' fees and costs.


                                           COUNT VIII
                                     UNJUST ENRICHMENT
                (On Behalf of Plaintiffs and the California and Illinois Classes)


        136.   Plaintiffs repeat, reallege and incorporate by reference each of the foregoing


allegations as though fully set forth herein.


        137.   Plaintiffs bring this claim individually and on behalf of the California and Illinois


Classes pursuant to the laws of those states.


        138.   This claim is pleaded in the alternative to Plaintiffs' contract claim.


        139.   As the intended and expected result of its conscious wrongdoing, Defendant has


profited and benefited from the purchase of movie plans by Plaintiffs and the Class that are


devalued or otherwise worth less due to the processing fees. Defendant has also profited and


benefited from the processing fees themselves, which Plaintiffs and Class members did not know


they would have to pay in signing up for movie plans and never agreed to pay.


        140.   Defendant has voluntarily accepted and retained these profits and benefits, with


full knowledge and awareness that, as a result of Defendant's misconduct alleged herein,


Plaintiffs and the Class were not receiving services of the quality, nature, fitness, or value that


had been represented by Defendant, and that a reasonable consumer would expect. Specifically,


Plaintiffs and the Class members expected that they would only pay the price of their movie




                                                 29
   Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 30 of 31 PageID #: 30



plans—not the processing fee that Defendant has begun charging in a money-grab, bait and


switch ploy.


        141.    Defendant has been unjustly enriched by its fraudulent, deceptive, unlawful, and


unfair conduct, and withholding of benefits and unearned monies from Plaintiffs and the Class, at


the expense of these parties.


        142.    Equity and good conscience militate against permitting Defendant to retain these


profits and benefits.


                                        PRAYER FOR RELIEF


         WHEREFORE, Plaintiffs individually and on behalf of all others similarly situated,


 pray for relief and judgment against Defendant, as follows:


        A.      For an order certifying the proposed class, appointing Plaintiffs and their counsel


to represent the proposed class and notice to the proposed class to be paid by Defendant;


       B.      For damages suffered by Plaintiffs and the proposed class;


       C.      For restitution to Plaintiffs and the proposed class of all monies wrongfully


obtained by Defendant;


       D.      For injunctive relief requiring Defendant to cease and desist from engaging in the


unlawful, unfair and/or deceptive practices alleged in the Complaint;


       E.      An order awarding declaratory relief, retrospective and prospective injunctive


relief as permitted by law or equity, including enjoining Defendant from continuing the unlawful


practices as set forth herein, and injunctive relief to remedy Defendant's past conduct;


       F.      For Plaintiffs' reasonable attorneys' fees, as permitted by law;


       G.      For Plaintiffs costs incurred;




                                                30
  Case 1:18-cv-01774-MN Document 1 Filed 11/09/18 Page 31 of 31 PageID #: 31



       H.      For pre-judgment and post-judgment interest at the maximum allowable rate on

any amounts awarded; and


       I.      For such other and further relief that this Court deems just and proper under


equity or law, including the award of punitive damages.


                                         JURY DEMAND


       Plaintiffs demand a trial by jury on all counts so triable.



Dated: November 9, 2018                               Respectfully submitted,



                                              By:
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                                                      Counselfor Plaintiffs and the Putative Class




                                                 31
